                     Case 3:21-cv-00088-CAR Document 1 Filed 07/26/21 Page 1 of 6




                                      UNITED STATES DISTRICT COURT
                                                                        for the

                                                                      District of
                                                                                                                                        AppendixD,
                                                                                  Ca_c::e No_
                                                                          )
                                                                                                 (to be filled in by the Clerk's Office)
                                                                          )
                                                                          )
                              Plaintiff(s)
(Write the full name of each plaintiffwho is filing this complaint.       )
If the names ofalt the plaintiffa cannot fit in the space above,          )       Jury Trial: (check one)    ~s             0    No
please write "see attached" in the space and attach an additional
                                                                          )
page with the full list of names.)
                                  -v-                                     )
                                                                          )
,Z_0-')l\r.)~     ~~c___\\,~\\I\C\ LLc__    j
W<s¼,:ix C'l-V-1-\- ~0~\Q.\f\~ Sa\0\bNs LlC j
                              DefendJnt(s)
(Write the full name of each defendant who is being sued. If the          )
names of all the defendants cannot fit in the space above, please         )
write "see attached" in the space and attach an additional page           )
with the full list of names.)



                              COMPLAINT FOR EMPLOYMENT DISCRIMINATION


I.        The Parties to This Complaint
          A.        The Plaintiff(s)

                    Provide the information below for each plaintiff named in the complaint. Attach additional pages if
                    needed.
                              Name
                              Street Address                          11 SO 6oJ nos 8::hOO\ ~\, ~~-\                                o      E - ~ tj~
                              Citv and Countv                         A\-\aQr\~ ,, C\~ 'f-q__ ( 0\\\\\~                                       .
                              State and Zin Code
                              Telenhone Number
                              E-mail Address


         B.         Th.e Defendant(s)

                    Provide the information below for each defendant named in the complaint, whether the defendant is an
                    individual, a government agency, an organization, or a corporation. For an individual defendant,
                    include the person's job or title (if known). Attach additional pages if needed.



                    DefendantNo. 1
                              Name
                              .Toh or Title (ifknrrwnJ
                      Case 3:21-cv-00088-CAR Document 1 Filed 07/26/21 Page 2 of 6

Pro Se 7 (Rev. 09/16) Complaint for Employment Discrimination


                               Street Address
                               Citv and Countv
                               State and Zin Code
                               Telenhone Numher
                               E-mail Address (ifknnwn)


                    Defendant No. 2
                           Name
                           .Toh or Title (iflarnwn)

                                                                ~~n~~~ B~ \(\()
                               Street Address
                               Citv and Countv
                               State and Zin Code               GA r30½D\a
                               Telenhone Number
                               E-mail Address       (ifknnwn)


                    Defendant No. 3
                           Name
                           .Toh or Title (ifknnwn)
                              Street Address
                              Citv and Countv
                              State and Zin Code
                              Telenhone Number
                              E-mail Address (ifknnwn)

                    Defendant No. 4
                           Name
                           .Toh or Title (ifknnwnl
                              Street Address
                              Citv and Countv
                              State and Zin Code
                              Telenhone Number
                              E-mail Address (ifknnwn)


         C.         Place of Employment

                    The address at which I sought employment or was employed by the defendant(s) is

                              Name
                              Street Address
                              City and County
                              State and Zip Code
                              Telephone Number

                                                                31
                      Case 3:21-cv-00088-CAR Document 1 Filed 07/26/21 Page 3 of 6

Pro Se 7 (Rev. 09/16) Complaint for Employment _Discrimination.




II.       Basis for Jurisdiction

          This action is brought for discrimination in employment pursuant to (check all that apply):


                  ~               Title VII of the Civil Ri!!hts Act of 1964. as codified. 42 U.S.C. 66 2000e to 2000e-l 7 (race.
                                  color. !!ender. reli!!ion. national origin).

                                  (Note: In order to bring suit in federal district court under Title VII, you must first obtain a
                                  Notice of Right to Sue letter from the Equal Employment Opportunity Commission.)

                  n               A!!e Discrimination in Emnlovment Act of 1967. as codified. 29 U.S.C. 66 621 to 634.

                                  (Note: In order to bring suit infederaldistrict court under the Age Discrimination in
                                  Employment Act, you must first file a charge with the Equal Employment Opportunity
                                  Commission.)

                  n               Americans with Disabilities Act of 1990. as codified. 42 U.S.C. 66 12112 to 12117.

                                  (Note: In order to bring suit in federal district court under the Americans with Disabilities
                                  Act, you must first obtain a Notice of Right to Sue letter from the Equal Employment
                                  Opportunity Commission.)


                  •               Other federal law (specify the federal law):



                  •               Relevant state law (specify, if known):



                  •               Relevant city or county law (specify, if known):




III.      Statement of Claim

          Write a short and plain statement of the claim. Do not make legal arguments .. State as briefly as possible the
          facts showing that each plaintiff is entitled to the damages or other relief sought. State how each defendant was
          involved and what each defendant did that caused the plaintiff harm or violated the plaintiffs rights, including
          the dates and places of that involvement or conduct. If more than one claim is asserted, number each claim and
          write a short and plain statement of each claim in a separate paragraph. Attach additional pages if needed.

          A.        The discriminatory conduct of which I complain in this action includes (check all that apply):



                             ~
                                           Failure to hire me.
                                           Termination ofmy employment.

                            •              Failure to promote me.


                                                                      32
                      Case 3:21-cv-00088-CAR Document 1 Filed 07/26/21 Page 4 of 6

Pro Se 7 (Rev. 09/16) Complaint for Employment Discrimination


                               D              Failure to accommodate my disability.
                               D              Unequal terms and conditions of my employment.
                               D              Retaliation.
                               0              Other acts (specify):
                                               (Note: Only those grounds raised in the charge filed with the Equal Employment
                                               Opportunity Commission can be considered by the federal district court under the
                                              federal employment discrimination statutes.)

        B.          It is my best recollection that the alleged discriminatory acts occurred on date(s)

                      __i...    ( s,, ')(Qs     +~():)\(\(\,¼=\            Gr\        :s / ' I/ A
                                                                                         J

        C.          I believe that defendant(s) (check one):
                               ~              is/are still committin!! these acts a2:ainst me.
                               n              is/are not still cornmittin2: these acts a2:ainst me.

        D.          Defendant9) discriminated against me based on my (ch~ck all that apply and explain):
                               [k(/           race
                               [Jt            color
                               D              gender/sex
                               D              religion
                               D              national origin
                               D              age (year of birth)     ____           (only when asserting a claim of age discrimination.)
                               D              disability or perceived disability (specify disability)



       E.           The facts of my case are as follows. Attach additional pages if needed.
                               '3-e,Q_ ~ \-\-Q_~Q__cb,




                    (Note: As additional support for the facts ofyour claim, you may attach to this complaint a copy of
                    your charge filed with the Equal Employment Opportunity Commission, or the charge filed with the
                    relevant state or city human rights division.)




                                                                          33
                      Case 3:21-cv-00088-CAR Document 1 Filed 07/26/21 Page 5 of 6

Pro Se 7 (Rev. 09/16) Complaint for Employment Discrimination



IV.     Exhaustion of Federal Administrative Remedies

        A.           It is my best recollection that I filed a charge with the Equal Employment Opportunity Commission or
                     my Equal Employment Opportunity counselor regarding the defendant's alleged discriminatory conduct
                     on (date)


                                                 I
        B.          The Equal Employment Opportunity Commission (check one):
                                          has not issued a Notice of Rh1:ht to Sue letter.
                                          issued a Notice of Ri2:ht to Sue letter. which I received on (date!
                                         (Note: Attach a copy of the Notice of Right to Sue letter from the Equal Employment
                                         Opportunity Commission to this complaint.)

        C.          Only litigants alleging age discrimination must answer this question.

                    Since filing my charge of age discrimination with the Equal Employment Opportunity Commission
                    regarding the defendant's alleged discriminatory conduct (check one):


                             n            60 davs or more have elansed.
                             n            less than 60 davs have elansed.

V.      Relief

       State briefly and precisely what damages or other relief the plaintiff asks the court to order. Do not make legal
       arguments. Include any basis for claiming that the wrongs alleged are continuing at the· present time. Include the
       amounts of any actual damages claimed for the acts alleged and the-basis for these amounts. Include any punitive
       or exemplary damages claimed, the amounts, and the reasons you claim you are entitled to actual or punitive
       money damages. --:r=-- u_)('.)C)\6- l_\\_Q_-\0 ~- c.o,,,~'%Q,_,__~~ ~ ' ~ S°'-G\~~ ~~
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      ~\~ ~ G,S'S'n-).r'\~ \0 ~ Lj, (Crl) oOC\ -G)c                                    n. -\~ c&; t             lC\   )C\3 "tF7"'
VI.    Certification and Closing

       Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my knowledge, information,
       and belief that this complaint: (1) is not being presented for an improper purpose, such as to harass, cause
       unnecessary delay, or needlessly increase the cost of litigation; (2) is supported by existing law or by a
       nonfrivolous argument for extending, modifying, or reversing existing law; (3) the factual contentions have
       evidentiary support or, if specifically so identified, will likely have evidentiary support after a reasonable
       opportunity for further ipvestigation or discovery; and (4) the complaint otherwise complies with the
       requirements of Rule 11.                     ·        ·


                                                                    34
                      Case 3:21-cv-00088-CAR Document 1 Filed 07/26/21 Page 6 of 6
Pro Se 7 (Rev. 09/16) Complaint for Employment Discrimination



        A.           For Parties Without an Attorney

                     I agree to provide the Clerk's Office with any changes to my address where case-related papers may be
                     served. I understand that my failure to keep a current address on file with the Clerk's Office may result
                     in the dismissal of my case.

                    Date of signing:


                     Signatm:e of Plaintiff
                    Printed Name of Plaintiff

        B.          For Attorneys

                    Date of signing:


                    Signature of Attorney
                    Printed Name of Attorney
                    Bar Number
                    Name of Law Firm
                    Street Address
                    State and Zip Code .
                   . Telephone Number
                    E-mail Address




                                                                35
